         Case 3:21-mc-00285-MEM Document 5 Filed 04/19/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA


IN THE MATTER OF THE APPLICATION FOR
ADMISSION TO PRACTICE IN THIS COURT
[for Case No. 3:21-mc-00285(MEM)]

                                           PETITION

       I, Jed R. Schlacter, hereby petition the United States District Court for the Middle District
of Pennsylvania to admit me to practice before that Court. In support of my petition, I state as
follows:

My office address is:         450 Seventh Avenue
                              New York, NY 101023

       Office Telephone:      212 695-2000

       I was admitted to practice before the Courts listed below on the dates shown after the name
of each Court, and I am currently a member in good standing of all of those Courts.

All Courts in the State of New York:          March 15, 1978
USDC Southern District of New York:           March 28, 1978
USDC Eastern District of New York:            April 26, 1978
Second Circuit Court of Appeals:              January 4, 1980


My attorney identification number from the State of New York is 1283936.



   FOR COURT USE ONLY
   _______ GENERAL ADMISSION:


   GRANTED BY THE COURT: _________________________                      Date:______________


     X
   _______ SPECIAL ADMISSION:


                           s/ Malachy E. Mannion
   GRANTED BY THE COURT: _________________________                              4/19/21
                                                                        Date: ______________



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